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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                                 SOUTHERN DIVISION
                                       LONDON
 SENTRY EQUIPMENT CORPORATION,                  )
                                                )
        Plaintiff,                              )            Civil No. 08-254-GFVT
                                                )
 V.                                             )
                                                )
 CUMBERLAND MINE SERVICE, INC.,                 )                    ORDER
                                                )
        Defendant.                              )

                                      *** *** *** ***

       This matter is before the Court on the Notice of Voluntary Dismissal [R. 8] filed by the

Plaintiff, Sentry Equipment Corporation. In that Notice, Sentry seeks dismissal of the instant

action because the parties have reached a settlement agreement. Accordingly, and pursuant to

Federal Rule of Civil Procedure 41, it is hereby ORDERED as follows:

       1.      This action is DISMISSED without prejudice; and

       2.      This action is STRICKEN from the Court’s active docket.

       This the 23rd day of January, 2009.
